          Case 18-30777-hdh11 Doc 1 Filed 03/06/18                                         Entered 03/06/18 19:44:15                  Page 1 of 49
Fill in this information to identify the case:

United States Bankruptcy Court for the:
_Northern _ District of _Texas
                                        (State)

Case number    (If known):   _________________________ Chapter 11                                                                          Check if this is an
                                                                                                                                           amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                 04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                                4 West Holdings, Inc.


2.   All other names debtor used
     in the last 8 years
     Include any assumed names, trade
     names, and doing business as names



3.   Debtor’s federal Employer
     Identification Number (EIN)                  XX-XXXXXXX


4.   Debtor’s address                             Principal place of business                                 Mailing address, if different from principal place
                                                                                                              of business


                                                  c/o Louis E. Robichaux IV, CRO
                                                  Number       Street                                         Number       Street



                                                  15950 Dallas Parkway
                                                                                                              P.O. Box




                                                                                                              City                          State          Zip Code
                                                  Dallas                            TX               75248
                                                  City                             State         Zip Code
                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business
                                                  Dallas County
                                                  County

                                                                                                              Number       Street




                                                                                                              City                          State          Zip Code




5.   Debtor’s website (URL)                       orianna.com


6.   Type of debtor                                      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                         Partnership (excluding LLP)
                                                         Other. Specify:



Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 1
                                                                                                                                                EAST\151102959.4
Debtor       Case  18-30777-hdh11
              4 West Holdings, Inc. Doc 1 Filed 03/06/18                                     Entered
                                                                                                  Case03/06/18
                                                                                                      number (if known)19:44:15           Page 2 of 49
                Name




                                                     A. Check one:
7.    Describe debtor’s business
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                         None of the above


                                                     B. Check all that apply:
                                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                     C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                        5511


8.    Under which chapter of the                     Check one:
      Bankruptcy Code is the
      debtor filing?                                     Chapter 7
                                                         Chapter 9
                                                         Chapter 11. Check all that apply:
                                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                            affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every
                                                                            3 years after that).
                                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                                            is a small business debtor, attach the most recent balance sheet, statement of
                                                                            operations, cash-flow statement, and federal income tax return or if all of these
                                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                            A plan is being filed with this petition.
                                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                            in accordance with 11 U.S.C. § 1126(b).
                                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                            Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                            12b-2.
                                                         Chapter 12


9.    Were prior bankruptcy cases                        No
      filed by or against the debtor                     Yes.    District                         When                        Case number
      within the last 8 years?                                                                            MM / DD / YYYY
      If more than 2 cases, attach a separate
                                                                 District                         When                        Case number
      list.
                                                                                                          MM / DD / YYYY


10.   Are any bankruptcy cases                           No
      pending or being filed by a                        Yes.    Debtor See Rider 1                                        Relationship
      business partner or an
      affiliate of the debtor?                                   District                                                  When
                                                                                                                                          MM / DD / YYYY
      List all cases. If more than 1, attach a
      separate list.                                             Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                           page 2
                                                                                                                              EAST\151102959.4
Debtor     Case  18-30777-hdh11
            4 West Holdings, Inc. Doc 1 Filed 03/06/18                        Entered
                                                                                   Case03/06/18
                                                                                       number (if known)19:44:15            Page 3 of 49
             Name




11.   Why is the case filed in this   Check all that apply:
      district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have         No     [See Rider 2]
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal
      property that needs                         Why does the property need immediate attention? (Check all that apply.)
      immediate attention?                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                      Other


                                                  Where is the property?
                                                                              Number         Street




                                                                              City                                  State              ZIP Code


                                                  Is the property insured?
                                                      No
                                                      Yes. Insurance agency

                                                              Contact name

                                                              Phone


          Statistical and administrative information


13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.


14.   Estimated number of                 1-49                                       1,000-5,000                          25,001-50,000
      creditors                           50-99                                      5,001-10,000                         50,001-100,000
                                          100-199                                    10,001-25,000                        More than 100,000
                                          200-999


15.   Estimated assets                    $0-$50,000                                 $1,000,001-$10 million               $500,000,001-$1 billion
                                          $50,001-$100,000                           $10,000,001-$50 million              $1,000,000,001-$10 billion
                                          $100,001-$500,000                          $50,000,001-$100 million             $10,000,000,001-$50 billion
                                          $500,001-$1 million                        $100,000,001-$500 million            More than $50 billion




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 3
                                                                                                                                     EAST\151102959.4
 Debtor     Case  18-30777-hdh11
             4 West Holdings, Inc. Doc 1 Filed 03/06/18                              Entered
                                                                                          Case03/06/18
                                                                                              number (if known)19:44:15           Page 4 of 49
              Name




16.   Estimated liabilities                     $0-$50,000                             $1,000,001-$10 million                  $500,000,001-$1 billion
                                                $50,001-$100,000                       $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                                $100,001-$500,000                      $50,000,001-$100 million                $10,000,000,001-$50 billion
                                                $500,001-$1 million                    $100,000,001-$500 million               More than $50 billion



                     Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of              ■ The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of              this petition.
      debtor
                                                ■     I have been authorized to file this petition on behalf of the debtor.

                                                ■ I have examined the information in this petition and have a reasonable belief that the information is
                                                true and correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on     03/06/2018
                                                           MM / DD / YYYY


                                          /s/ Louis E. Robichaux IV                                  Louis E. Robichaux IV
                                               Signature of authorized representative of debtor       Printed name


                                                Title: Chief Restructuring Officer




18.   Signature of attorney                     /s/ Andrew B. Zollinger                              Date      03/06/2018
                                                Signature of attorney for debtor                              MM / DD / YYYY




                                         Andrew B. Zollinger
                                         Printed name

                                         DLA Piper LLP (US)
                                         Firm name

                                         1717 Main Street, Suite 4600
                                         Number Street

                                         Dallas                                                                           TX                 75201
                                         City                                                                             State              ZIP Code

                                         (214) 743-4509                                                                   andrew.zollinger@dlapiper.com
                                         Contact phone                                                                    Email address



                                         24063944                                                                         TX
                                         Bar number                                                                       State




 Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 4
                                                                                                                                            EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18                          Entered 03/06/18 19:44:15      Page 5 of 49



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

---------------------------------------------------------------      x
In re:                                                               :
                                                                     : Chapter 11
4 WEST HOLDINGS, INC.,                                               :
                                                                     : Case No. 18-_____ (___)
                    Debtor.                                          :
---------------------------------------------------------------      :
                                                                     x
                                                           Rider 1

               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a voluntary
petition in the United States Bankruptcy Court for the Northern District of Texas for relief under chapter
11 of title 11 of the United States Code. The Debtors have moved for joint administration of their cases
with the lead case number assigned to the chapter 11 case of 4 West Holdings, Inc.

              #                                     Company                                  EIN
              1.        4 West Holdings, Inc.                                             XX-XXXXXXX
              2.        4 West Investors, LLC                                             XX-XXXXXXX
              3.        Aiken RE, LLC                                                     XX-XXXXXXX
              4.        Ambassador Rehabilitation and Healthcare Center, LLC              XX-XXXXXXX
              5.        Anchor Rehabilitation and Healthcare Center of Aiken,
                                                                                          XX-XXXXXXX
                        LLC
              6.        Anderson RE TX, LLC                                               XX-XXXXXXX
              7.        Anderson RE, LLC                                                  XX-XXXXXXX
              8.        Ark II Real Estate, LLC                                           XX-XXXXXXX
              9.        Ark III Real Estate, LLC                                          XX-XXXXXXX
              10.       Ark Mississippi Holding Company, LLC                              XX-XXXXXXX
              11.       Ark Real Estate, LLC                                              XX-XXXXXXX
              12.       Ark South Carolina Holding Company, LLC                           XX-XXXXXXX
              13.       Ark Texas Holding Company, LLC                                    XX-XXXXXXX
              14.       Battle Ground RE, LLC                                             XX-XXXXXXX
              15.       Brushy Creek Rehabilitation and Healthcare Center,
                                                                                          XX-XXXXXXX
                        LLC
              16.       Bryan RE, LLC                                                     XX-XXXXXXX
              17.       Burleson RE, LLC                                                  XX-XXXXXXX
              18.       Capstone Rehabilitation and Healthcare Center, LLC                XX-XXXXXXX
              19.       Charlottesville Pointe Rehabilitation and Healthcare
                                                                                          XX-XXXXXXX
                        Center, LLC
              20.       Charlottesville RE, LLC                                           XX-XXXXXXX
              21.       Cleveland RE, LLC                                                 XX-XXXXXXX
              22.       Clinton RE, LLC                                                   XX-XXXXXXX
              23.       Cobblestone Rehabilitation and Healthcare Center, LLC             XX-XXXXXXX
              24.       Collierville RE, LLC                                              XX-XXXXXXX




EAST\151102959.4
Case
Debtor 18-30777-hdh11
         4 West Holdings, Inc. Doc 1 Filed 03/06/18          Entered
                                                              Case number03/06/18
                                                                          (if known) 19:44:15      Page 6 of 49
            Name




              #                              Company                                           EIN
              25.   Columbia RE, LLC                                                        XX-XXXXXXX
              26.   Columbia Rehabilitation and Healthcare Center, LLC                      XX-XXXXXXX
              27.   Comfort RE, LLC                                                         XX-XXXXXXX
              28.   Connersville RE, LLC                                                    XX-XXXXXXX
              29.   Corinth RE, LLC                                                         XX-XXXXXXX
              30.   Cornerstone Rehabilitation and Healthcare Center, LLC                   XX-XXXXXXX
              31.   Crystal Rehabilitation and Healthcare Center, LLC                       XX-XXXXXXX
              32.   Delta Rehabilitation and Healthcare Center of
                                                                                            XX-XXXXXXX
                    Cleveland, LLC
              33.   Descending Dove, LLC                                                    XX-XXXXXXX
              34.   Diboll RE, LLC                                                          XX-XXXXXXX
              35.   Easley RE II, LLC                                                       XX-XXXXXXX
              36.   Easley RE, LLC                                                          XX-XXXXXXX
              37.   Edgefield RE, LLC                                                       XX-XXXXXXX
              38.   Farmville RE, LLC                                                       XX-XXXXXXX
              39.   Farmville Rehabilitation and Healthcare Center, LLC                     XX-XXXXXXX
              40.   Fleetwood Rehabilitation and Healthcare Center, LLC                     XX-XXXXXXX
              41.   Fortress Health & Rehab of Rock Prairie, LLC                            XX-XXXXXXX
              42.   Granbury RE, LLC                                                        XX-XXXXXXX
              43.   Great Oaks RE, LLC                                                      XX-XXXXXXX
              44.   Great Oaks Rehabilitation and Healthcare Center, LLC                    XX-XXXXXXX
              45.   Greenville RE II, LLC                                                   XX-XXXXXXX
              46.   Greenville RE, LLC                                                      XX-XXXXXXX
              47.   Greenville Rehabilitation and Healthcare Center, LLC                    XX-XXXXXXX
              48.   Greenwood RE, LLC                                                       XX-XXXXXXX
              49.   Greer RE, LLC                                                           XX-XXXXXXX
              50.   Greer Rehabilitation and Healthcare Center, LLC                         XX-XXXXXXX
              51.   Grenada RE, LLC                                                         XX-XXXXXXX
              52.   Grenada Rehabilitation and Healthcare Center, LLC                       XX-XXXXXXX
              53.   Heritage Park Rehabilitation and Healthcare Center,
                                                                                            XX-XXXXXXX
                    LLC
              54.   Hillsville RE, LLC                                                      XX-XXXXXXX
              55.   Hillsville Rehabilitation and Healthcare Center, LLC                    XX-XXXXXXX
              56.   Holly Lane Rehabilitation and Healthcare Center, LLC                    XX-XXXXXXX
              57.   Holly RE, LLC                                                           XX-XXXXXXX
              58.   Holly Springs RE, LLC                                                   XX-XXXXXXX
              59.   Holly Springs Rehabilitation and Healthcare Center,
                                                                                            XX-XXXXXXX
                    LLC
              60.   Indianola RE, LLC                                                       XX-XXXXXXX
              61.   Indianola Rehabilitation and Healthcare Center, LLC                     XX-XXXXXXX
              62.   Italy RE, LLC                                                           XX-XXXXXXX
              63.   Iva RE, LLC                                                             XX-XXXXXXX
              64.   Iva Rehabilitation and Healthcare Center, LLC                           XX-XXXXXXX
              65.   Johns Island Rehabilitation and Healthcare Center, LLC                  XX-XXXXXXX
              66.   Joy of Bryan, LLC                                                       XX-XXXXXXX
              67.   Lampstand Health & Rehab of Bryan, LLC                                  XX-XXXXXXX
              68.   Linley Park Rehabilitation and Healthcare Center, LLC                   XX-XXXXXXX
              69.   Macon Rehabilitation and Healthcare Center, LLC                         XX-XXXXXXX

Official Form 201            Voluntary Petition for Non-Individuals Filing for Bankruptcy                    page 6
                                                                                                   EAST\151102959.4
Case
Debtor 18-30777-hdh11
         4 West Holdings, Inc. Doc 1 Filed 03/06/18           Entered
                                                               Case number03/06/18
                                                                           (if known) 19:44:15      Page 7 of 49
            Name




              #                              Company                                            EIN
              70.    Magnified Health & Rehab of Anderson, LLC                               XX-XXXXXXX
              71.    Manna Rehabilitation and Healthcare Center, LLC                         XX-XXXXXXX
              72.    Marietta RE, LLC                                                        XX-XXXXXXX
              73.    McCormick RE, LLC                                                       XX-XXXXXXX
              74.    McCormick Rehabilitation and Healthcare Center, LLC                     XX-XXXXXXX
              75.    Memphis RE, LLC                                                         XX-XXXXXXX
              76.    Midland RE, LLC                                                         XX-XXXXXXX
              77.    Midland Rehabilitation and Healthcare Center, LLC                       XX-XXXXXXX
              78.    Moultrie RE, LLC                                                        XX-XXXXXXX
              79.    Mountain View Rehabilitation and Healthcare Center,
                                                                                             XX-XXXXXXX
                     LLC
              80.    Natchez RE, LLC                                                         XX-XXXXXXX
              81.    Natchez Rehabilitation and Healthcare Center, LLC                       XX-XXXXXXX
              82.    New Ark Master Tenant, LLC                                              XX-XXXXXXX
              83.    New Ark Operator Holdings, LLC                                          XX-XXXXXXX
              84.    New Redeemer Health & Rehab of Pickens, LLC                             XX-XXXXXXX
              85.    Olive Leaf Holding Company, LLC                                         XX-XXXXXXX
              86.    Olive Leaf, LLC                                                         XX-XXXXXXX
              87.    Omega Health & Rehab of Greenville, LLC                                 XX-XXXXXXX
              88.    Orianna Health Systems, LLC                                             XX-XXXXXXX
              89.    Orianna Holding Company, LLC                                            XX-XXXXXXX
              90.    Orianna Investment, Inc.                                                XX-XXXXXXX
              91.    Orianna SC Operator Holdings, Inc.                                      XX-XXXXXXX
              92.    Palladium Hospice and Palliative Care, LLC                              XX-XXXXXXX
              93.    Patewood Rehabilitation and Healthcare Center, LLC                      XX-XXXXXXX
              94.    Picayune RE, LLC                                                        XX-XXXXXXX
              95.    Picayune Rehabilitation and Healthcare Center, LLC                      XX-XXXXXXX
              96.    Pickens RE II, LLC                                                      XX-XXXXXXX
              97.    Pickens RE, LLC                                                         XX-XXXXXXX
              98.    Piedmont RE, LLC                                                        XX-XXXXXXX
              99.    Poinsett Rehabilitation and Healthcare Center, LLC                      XX-XXXXXXX
              100.   Poplar Oaks Rehabilitation and Healthcare Center, LLC                   XX-XXXXXXX
              101.   Portland RE, LLC                                                        XX-XXXXXXX
              102.   Provo RE, LLC                                                           XX-XXXXXXX
              103.   Rainbow Rehabilitation and Healthcare Center, LLC                       XX-XXXXXXX
              104.   River Falls Rehabilitation and Healthcare Center, LLC                   XX-XXXXXXX
              105.   Riverside Rehabilitation and Healthcare Center, LLC                     XX-XXXXXXX
              106.   Rock Prairie RE, LLC                                                    XX-XXXXXXX
              107.   Rocky Mount RE, LLC                                                     XX-XXXXXXX
              108.   Rocky Mount Rehabilitation and Healthcare Center,
                                                                                             XX-XXXXXXX
                     LLC
              109.   Roy RE, LLC                                                             XX-XXXXXXX
              110.   Scepter Rehabilitation and Healthcare Center, LLC                       XX-XXXXXXX
              111.   Scepter Senior Living Center, LLC                                       XX-XXXXXXX
              112.   Simpsonville RE II, LLC                                                 XX-XXXXXXX
              113.   Simpsonville RE, LLC                                                    XX-XXXXXXX
              114.   Simpsonville Rehabilitation and Healthcare Center,
                                                                                             XX-XXXXXXX
                     LLC

Official Form 201             Voluntary Petition for Non-Individuals Filing for Bankruptcy                    page 7
                                                                                                    EAST\151102959.4
Case
Debtor 18-30777-hdh11
         4 West Holdings, Inc. Doc 1 Filed 03/06/18           Entered
                                                               Case number03/06/18
                                                                           (if known) 19:44:15       Page 8 of 49
            Name




              #                               Company                                           EIN
              115.   Snellville RE, LLC                                                      XX-XXXXXXX
              116.   Southern Oaks Rehabilitation and Healthcare Center,
                                                                                             XX-XXXXXXX
                     LLC
              117.   The Bluffs Rehabilitation and Healthcare Center, LLC                    XX-XXXXXXX
              118.   The Ridge Rehabilitation and Healthcare Center, LLC                     XX-XXXXXXX
              119.   Trinity Mission Health & Rehab of Connersville, LLC                     XX-XXXXXXX
              120.   Trinity Mission of Burleson, LLC                                        XX-XXXXXXX
              121.   Trinity Mission of Comfort, LLC                                         XX-XXXXXXX
              122.   Trinity Mission of Diboll, LLC                                          XX-XXXXXXX
              123.   Trinity Mission of Granbury, LLC                                        XX-XXXXXXX
              124.   Trinity Mission of Italy, LLC                                           XX-XXXXXXX
              125.   Trinity Mission of Winnsboro, LLC                                       XX-XXXXXXX
              126.   Utah Valley Rehabilitation and Healthcare Center, LLC                   20-88889661
              127.   Vicksburg RE, LLC                                                       XX-XXXXXXX
              128.   Victory Rehabilitation and Healthcare Center, LLC                       XX-XXXXXXX
              129.   Wadesboro RE, LLC                                                       XX-XXXXXXX
              130.   Wide Horizons RE, LLC                                                   XX-XXXXXXX
              131.   Wide Horizons Residential Care Facility, LLC                            XX-XXXXXXX
              132.   Winnsboro RE, LLC                                                       XX-XXXXXXX
              133.   Woodlands Rehabilitation and Healthcare Center, LLC                     XX-XXXXXXX
              134.   Yazoo City RE, LLC                                                      XX-XXXXXXX
              135.   Yazoo City Rehabilitation and Healthcare Center, LLC                    XX-XXXXXXX




Official Form 201             Voluntary Petition for Non-Individuals Filing for Bankruptcy                    page 8
                                                                                                    EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18                          Entered 03/06/18 19:44:15     Page 9 of 49



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

---------------------------------------------------------------     x
In re:                                                              :
                                                                    : Chapter 11
4 WEST HOLDINGS, INC.,                                              :
                                                                    : Case No. 18-_____ (___)
                    Debtor.                                         :
---------------------------------------------------------------     :
                                                                    x
                                                          Rider 2

                   Real Property or Personal Property that Needs Immediate Attention
        Question 12, among other things, asks the debtor to identify any property that poses or is alleged
to pose a threat of imminent and identifiable hazard to public health or safety.
        The above-captioned debtor (the “Debtor”) does not believe it owns or possesses any real or
personal property that (i) poses a threat of imminent and identifiable hazard to public health or safety, (ii)
needs to be physically secured or protected from the weather, or (iii) includes perishable goods or assets
that could quickly deteriorate. The Debtor notes that it is not aware of the exact definition of “imminent
and identifiable hazard” as used in this form.




EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18             Entered 03/06/18 19:44:15           Page 10 of 49



                                    OFFICER’S CERTIFICATE

                                        Dated: March 6, 2018

        The undersigned, the Chief Restructuring Officer of 4 West Holdings, Inc., a Delaware
corporation (the “Company”), does hereby certify the following at and as of the date hereof:

       (i)      attached as Annex A hereto is a true, correct and complete copy of the resolutions (the
“Resolutions”) adopted by written consent on March 6, 2018;

      (ii)    such Resolutions were adopted by the Company in accordance with the terms of the
Company’s bylaws; and

         (iii)   such Resolutions have not been amended, modified or rescinded since adopted, and are in
full force and effect as of the date hereof.

         IN WITNESS WHEREOF, the undersigned has caused this certificate to be executed as of the
date first set forth above.


                                                     /s/ Louis E. Robichaux IV
                                                     Name:       Louis E. Robichaux IV
                                                     Title:      Chief Restructuring Officer




EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18   Entered 03/06/18 19:44:15   Page 11 of 49



                                     Annex A

                                    Resolutions




EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18               Entered 03/06/18 19:44:15        Page 12 of 49



                                        WRITTEN CONSENT
                                             OF THE
                                       BOARD OF DIRECTORS

                                            March 5, 2018

        WHEREAS, the undersigned, being (i) the Board of Directors (the “4 West Holdings
Board”) of 4 West Holdings, Inc. (“4 West Holdings”), (ii) the Board of Directors (“Orianna
Investment Board”) of Orianna Investment, Inc. (“Orianna Investment”), and (iii) the Board of
Directors (“Orianna SC Board”) of Orianna SC Operator Holdings, Inc. (“Orianna SC”), each a
Delaware corporation, hereby consent, pursuant to Section 141(f) of the Delaware General
Corporation Law (the “DGCL”), that the actions hereinafter set forth shall be, and hereby are,
taken by each of the 4 West Holdings Board, Orianna Investment Board, and Orianna SC Board
(collectively, the “Governing Persons”) as of the date hereof with the same force and effect as if
they had been adopted at a duly convened meeting of each such Board of Directors.

        WHEREAS, Orianna Investment is the sole member of:

                   (i)     Orianna Holding Company, LLC, a Delaware limited liability company,
                           which in turn is the sole member of (a) Ark Real Estate, LLC, a Delaware
                           limited liability company, which in turn is the sole member of the entities
                           listed on Schedule 1 annexed hereto, each a Delaware limited liability
                           company, and (b) Orianna Health Systems, LLC, a Delaware limited
                           liability company, which in turn is the sole member of the entities listed on
                           Schedule 2 annexed hereto, each a Delaware limited liability company,
                           including (A) Ark Mississippi Holding Company, LLC (“Ark
                           Mississippi”), and (B) Ark Texas Holding Company, LLC, a Delaware
                           limited liability company, which in turn is the sole member and manager
                           of Trinity Mission of Winnsboro, LLC, a Delaware limited liability
                           company, and of

                   (ii)    Olive Leaf Holding Company, LLC, a Delaware limited liability company,
                           which in turn is the sole member of (a) Ark III Real Estate, LLC, a
                           Delaware limited liability company, which in turn is the sole member of
                           the entities listed on Schedule 3 annexed hereto, each a Delaware limited
                           liability company, and (b) Olive Leaf, LLC, a Delaware limited liability
                           company, which in turn is the sole member of the entities listed on
                           Schedule 4 annexed hereto, each a Delaware limited liability company,
                           including Ark South Carolina Holding Company, LLC (“Ark SC”); and of

                   (iii)   Joy of Bryan, LLC, a Delaware limited liability company, which in turn is
                           the sole member and manager of (i) Ark II Real Estate, LLC, a Delaware
                           limited liability company, which in turn is the sole member and manager
                           of the entities listed on Schedule 5 annexed hereto, each a Delaware
                           limited liability company, and of (ii) Descending Dove, LLC, a Delaware
                           limited liability company, which in turn is the sole member and manager




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Case 18-30777-hdh11 Doc 1 Filed 03/06/18             Entered 03/06/18 19:44:15       Page 13 of 49



                          of the entities listed on Schedule 6 annexed hereto, each a Delaware
                          limited liability company.

      WHEREAS, Ark Mississippi is the sole member of the entities listed on Schedule 7
annexed hereto, each a Delaware limited liability company.

        WHEREAS, Ark SC is the sole member of the entities listed on Schedule 8 annexed
hereto, each a Delaware limited liability company.

      WHEREAS, Orianna SC is the managing member of the entities listed on Schedule 9
annexed hereto, each a Delaware limited liability company.

        WHEREAS, 4 West Holdings is the managing member of:

                   (i)    New Ark Operator Holdings, LLC, a Delaware limited liability company,
                          which in turn is the managing member of the entities listed on Schedule 10
                          annexed hereto, each a Delaware limited liability company, and

                   (ii)   New Ark Master Tenant, LLC, a Delaware limited liability company.

       WHEREAS, the Governing Persons have considered the financial and operational
conditions of the business of the entities listed in Schedule 11 (collectively, the “Companies”);

         WHEREAS, the Governing Persons have reviewed the historical performance of the
Companies, the market for the Companies’ products and services, and the current and long-term
liabilities of the Companies;

         WHEREAS, the Governing Persons have, on behalf of the Companies, reviewed,
considered, and received the recommendations of the senior management of the Companies and
the advice of the Companies’ professionals and advisors with respect to potential sources for
relief that are available to the Governing Persons, including the possibility of pursuing a
restructuring of the Companies’ business and assets by filing voluntary petitions (the “Petitions”)
for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in the
Bankruptcy Court for the Northern District of Texas (the “Bankruptcy Court”) in order to
commence cases under the Bankruptcy Code (collectively, the “Chapter 11 Cases”);

        WHEREAS, the Governing Persons, on behalf of the Companies, have determined that it
is advisable and in the best interests of all or some of the Companies to seek approval from the
Bankruptcy Court for the Companies to obtain debtor-in-possession financing (the “DIP Loan”)
pursuant to that certain Senior Secured Superpriority Debtor-in-Possession Credit Agreement
(the “DIP Agreement”) by and among certain of the Companies as borrowers or guarantors
thereunder, and OHI Asset RO, LLC, as lender thereunder (“DIP Lender”), in order to provide
for funding and liquidity needs in the course of the Chapter 11 Cases, and, subject to such
Bankruptcy Court approval, to enter into the DIP Agreement;

        WHEREAS, the Governing Persons have, on behalf of the Companies, determined that it
is advisable and in the best interests of certain Companies to enter into a Restructuring Support
Agreement (the “RSA”) with Omega Healthcare Investors, Inc. and/or certain of its affiliates


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Case 18-30777-hdh11 Doc 1 Filed 03/06/18           Entered 03/06/18 19:44:15        Page 14 of 49



(collectively, “Omega”), and a related settlement agreement with Omega whereby the
Companies party thereto will, among other things, resolve and settle certain claims by and
among Omega and the Companies party thereto (the “Omega Settlement”), and to request
approval from the Bankruptcy Court for such Companies to enter into the RSA and the Omega
Settlement;

        WHEREAS the Governing Persons, on behalf of the Companies, hereby take the
following actions, and adopt the following resolutions by written consent to action, and directs
that this Consent be filed with the minutes of each Company:

        NOW, THEREFORE BE IT RESOLVED, that, in the business judgment of the
Governing Persons, after consideration of the alternatives presented to them and the
recommendations of senior management of the Companies and the advice of the Companies’
professionals and advisors that, at this time under the relevant circumstances, it is desirable and
in the best interests of the Companies, their creditors, and other interested parties for the
Petitions to be filed in with the Bankruptcy Court by the Companies seeking relief under the
provisions of Chapter 11 of the Bankruptcy Code; and it is

       FURTHER RESOLVED, that, to the extent not already appointed and currently serving
as such pursuant to separate resolutions or consents of the Companies, the following individuals
be, and hereby are, appointed as officers of each Company with the titles set forth next to his or
her name below, to serve until his or her successor(s) are duly elected and qualified:

          Louis E. Robichaux IV                   Interim Treasurer; and Chief
                                                  Restructuring Officer

          Michelle D. Meer                        President and Secretary

        FURTHER RESOLVED, that the Petitions seeking relief under the provisions of Chapter
11 of the Bankruptcy Code are approved in all respects and that Louis E. Robichaux IV, as the
Interim Treasurer and Chief Restructuring Officer of each of the Companies, Michelle D. Meer,
President and Secretary of the Companies, Eric M. Roth, who is hereby designated as an
“Authorized Signatory” of each of the Companies, and the other officers of the Companies
(collectively, the “Authorized Persons”) be, and hereby are, authorized and directed, on behalf of
and in the name of the Companies, to execute the Petitions or authorize the execution of the
Petitions and to cause the same to be filed with the Bankruptcy Court, at such time as the
Authorized Persons deem appropriate, in order to commence the Chapter 11 Cases; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
execute and file all Petitions, schedules, lists, and other papers and to take any and all actions
which they may deem necessary or proper in connection with the prosecution of the Chapter 11
Cases and, in that connection, for the Authorized Persons to retain and employ all assistance, by
legal counsel or otherwise, which they may deem necessary or proper in order to successfully
prosecute the Chapter 11 Cases; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized and
directed to retain on behalf of the Companies, upon such terms and conditions as the Authorized



EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18            Entered 03/06/18 19:44:15         Page 15 of 49



Persons shall approve, and subject to any Bankruptcy Court approvals or orders required, if any,
the following to represent the Companies in connection with the Chapter 11 Cases

           •       DLA Piper LLP (US), to serve as bankruptcy counsel for the Companies;

           •       Houlihan Lokey, to serve as investment banker for the Companies;

           •       Crowe Horwath LLP, to serve as financial advisor for the Companies;

           •       Ankura Consulting Group, LLC to provide interim management services for the
                   Companies and designate the Chief Restructuring Officer for the Company; and

           •       Rust Consulting/Omni Bankruptcy, to serve as claims agent for the Companies.

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
retain on behalf of the Companies other attorneys, investment bankers, accountants, restructuring
professionals, financial advisors, and other professionals, upon such terms and conditions as the
Authorized Persons shall approve, to render services to the Companies in connection with the
Chapter 11 Cases or any related insolvency proceeding; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
seek approval from the Bankruptcy Court to enter into the DIP Agreement, and, upon approval
of the Bankruptcy Court, to, on behalf of the Companies, execute the DIP Agreement and
complete all other transactions contemplated by the DIP Agreement and the orders of the
Bankruptcy Court approving same (collectively, the “DIP Transaction”) and to execute and
deliver all documentation in connection with the closing of the DIP Transaction by the
Companies under such terms and conditions Authorized Persons may approve, and to take any
and all actions necessary in connection therewith, including specifically the execution and
delivery of (and to file or authorize the filings of, as applicable) all documentation that any such
Authorized Persons may deem reasonably necessary or appropriate, including, without
limitation, fee letters, promissory notes, deeds to secure debt, mortgages, deeds of trust, security
agreements, assignments of leases, rents and profits, borrower’s certificates, financing
statements, indemnity agreements, escrow and security agreements, affidavits, assignments, and
such other documents as may be necessary or appropriate to consummate, subject to approval by
the Bankruptcy Court, such DIP Transaction on behalf of the Companies; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
execute, and to seek approval from the Bankruptcy Court to assume, the RSA, and to execute
and deliver all documentation in connection with the RSA by the Companies under such terms
and conditions Authorized Persons may approve, and to take any and all actions necessary in
connection therewith, including specifically the execution and delivery of all documentation that
any such Authorized Persons may deem reasonably necessary or appropriate, including, without
limitation, bills of sale, promissory notes, deeds, certificates, escrow agreements, affidavits,
assignments, and such other documents as may be necessary or appropriate to, subject to
approval by the Bankruptcy Court, consummate the transactions contemplated by the RSA on
behalf of the Companies;




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18          Entered 03/06/18 19:44:15       Page 16 of 49



        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized to
seek approval from the Bankruptcy Court, and to execute and deliver all documentation in
connection with the Omega Settlement under such terms and conditions Authorized Persons and
Bankruptcy Court may approve, and to take any and all actions necessary in connection
therewith, including specifically the execution and delivery of all documentation that any such
Authorized Persons may deem reasonably necessary or appropriate, including, without
limitation, bills of sale, promissory notes, deeds, certificates, escrow agreements, affidavits,
assignments, and such other documents as may be necessary or appropriate to consummate the
transactions contemplated by the Omega Settlement on behalf of the Companies;

        FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Person to file the Petitions or with respect to the Chapter 11 Cases, any related
insolvency proceeding, the DIP Transaction, the Omega Settlement, the RSA, or in any matter
related thereto, or by virtue of these resolutions be, and hereby are, in all respects ratified,
confirmed, and approved; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are, authorized and
directed, in the name of and on behalf of the Companies, to take or cause to be taken any and all
such further action and to execute and deliver or cause to be executed or delivered all such
further agreements, documents, certificates, and undertakings and to incur all such fees and
expenses as in their judgment shall be necessary, appropriate, or advisable to effectuate the
purpose and intent of any and all of the foregoing resolutions.

                                    [signature pages follow]




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18   Entered 03/06/18 19:44:15   Page 17 of 49
Case 18-30777-hdh11 Doc 1 Filed 03/06/18   Entered 03/06/18 19:44:15   Page 18 of 49
Case 18-30777-hdh11 Doc 1 Filed 03/06/18   Entered 03/06/18 19:44:15   Page 19 of 49
Case 18-30777-hdh11 Doc 1 Filed 03/06/18   Entered 03/06/18 19:44:15   Page 20 of 49
Case 18-30777-hdh11 Doc 1 Filed 03/06/18   Entered 03/06/18 19:44:15   Page 21 of 49
Case 18-30777-hdh11 Doc 1 Filed 03/06/18   Entered 03/06/18 19:44:15   Page 22 of 49
Case 18-30777-hdh11 Doc 1 Filed 03/06/18     Entered 03/06/18 19:44:15   Page 23 of 49



                                       Schedule 1

    1.       Battle Ground RE, LLC
    2.       Burleson RE, LLC
    3.       Charlottesville RE, LLC
    4.       Cleveland RE, LLC
    5.       Clinton RE, LLC
    6.       Collierville RE, LLC
    7.       Columbia RE, LLC
    8.       Comfort RE, LLC
    9.       Connersville RE, LLC
    10.      Corinth RE, LLC
    11.      Diboll RE, LLC
    12.      Edgefield RE, LLC
    13.      Farmville RE, LLC
    14.      Granbury RE, LLC
    15.      Great Oaks RE, LLC
    16.      Greenwood RE, LLC
    17.      Grenada RE, LLC
    18.      Hillsville RE, LLC
    19.      Holly RE, LLC
    20.      Holly Springs RE, LLC
    21.      Indianola RE, LLC
    22.      Italy RE, LLC
    23.      Memphis RE, LLC
    24.      Midland RE, LLC
    25.      Natchez RE, LLC
    26.      Picayune RE, LLC
    27.      Portland RE, LLC
    28.      Provo RE, LLC
    29.      Rocky Mount RE, LLC
    30.      Roy RE, LLC
    31.      Vicksburg RE, LLC



EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18   Entered 03/06/18 19:44:15   Page 24 of 49



    32.      Wide Horizons RE, LLC
    33.      Winnsboro RE, LLC
    34.      Yazoo City RE, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18            Entered 03/06/18 19:44:15   Page 25 of 49



                                              Schedule 2

    1.       Ark Mississippi Holding Company, LLC
    2.       Ark Texas Holding Company, LLC
    3.       Charlottesville Pointe Rehabilitation and Healthcare Center, LLC
    4.       Farmville Rehabilitation and Healthcare Center, LLC
    5.       Heritage Park Rehabilitation and Healthcare Center, LLC
    6.       Hillsville Rehabilitation and Healthcare Center, LLC
    7.       Holly Lane Rehabilitation and Healthcare Center, LLC
    8.       Midland Rehabilitation and Healthcare Center, LLC
    9.       Mountain View Rehabilitation and Healthcare Center, LLC
    10.      Picayune Rehabilitation and Healthcare Center, LLC
    11.      Poplar Oaks Rehabilitation and Healthcare Center, LLC
    12.      Rainbow Rehabilitation and Healthcare Center, LLC
    13.      Rocky Mount Rehabilitation and Healthcare Center, LLC
    14.      The Bluffs Rehabilitation and Healthcare Center, LLC
    15.      Trinity Mission Health & Rehab of Connersville, LLC
    16.      Trinity Mission of Burleson, LLC
    17.      Trinity Mission of Comfort, LLC
    18.      Trinity Mission of Diboll, LLC
    19.      Trinity Mission of Granbury, LLC
    20.      Trinity Mission of Italy, LLC
    21.      Utah Valley Rehabilitation and Healthcare Center, LLC
    22.      Victory Rehabilitation and Healthcare Center, LLC
    23.      Wide Horizons Residential Care Facility, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18     Entered 03/06/18 19:44:15   Page 26 of 49



                                       Schedule 3

    1.       Aiken RE, LLC
    2.       Anderson RE, LLC
    3.       Easley RE II, LLC
    4.       Easley RE, LLC
    5.       Greenville RE II, LLC
    6.       Greenville RE, LLC
    7.       Greer RE, LLC
    8.       Iva RE, LLC
    9.       Marietta RE, LLC
    10.      McCormick RE, LLC
    11.      Moultrie RE, LLC
    12.      Pickens RE II, LLC
    13.      Pickens RE, LLC
    14.      Piedmont RE, LLC
    15.      Simpsonville RE II, LLC
    16.      Simpsonville RE, LLC
    17.      Snellville RE, LLC
    18.      Wadesboro RE, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18          Entered 03/06/18 19:44:15   Page 27 of 49



                                           Schedule 4

    1.       Ambassador Rehabilitation and Healthcare Center, LLC
    2.       Ark South Carolina Holding Company, LLC
    3.       Cobblestone Rehabilitation and Healthcare Center, LLC
    4.       Scepter Rehabilitation and Healthcare Center, LLC
    5.       Scepter Senior Living Center, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18   Entered 03/06/18 19:44:15   Page 28 of 49



                                    Schedule 5

    1.       Anderson RE TX, LLC
    2.       Bryan RE, LLC
    3.       Rock Prairie RE, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18         Entered 03/06/18 19:44:15   Page 29 of 49



                                          Schedule 6

    1.       Fortress Health & Rehab of Rock Prairie, LLC
    2.       Lampstand Health & Rehab of Bryan, LLC
    3.       Magnified Health & Rehab of Anderson, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18          Entered 03/06/18 19:44:15   Page 30 of 49



                                           Schedule 7

    1.       Columbia Rehabilitation and Healthcare Center, LLC
    2.       Cornerstone Rehabilitation and Healthcare Center, LLC
    3.       Crystal Rehabilitation and Healthcare Center, LLC
    4.       Delta Rehabilitation and Healthcare Center of Cleveland, LLC
    5.       Great Oaks Rehabilitation and Healthcare Center, LLC
    6.       Grenada Rehabilitation and Healthcare Center, LLC
    7.       Holly Springs Rehabilitation and Healthcare Center, LLC
    8.       Indianola Rehabilitation and Healthcare Center, LLC
    9.       Natchez Rehabilitation and Healthcare Center, LLC
    10.      Woodlands Rehabilitation and Healthcare Center, LLC
    11.      Yazoo City Rehabilitation and Healthcare Center, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18          Entered 03/06/18 19:44:15   Page 31 of 49



                                           Schedule 8

    1.       Anchor Rehabilitation and Healthcare Center of Aiken, LLC
    2.       Greer Rehabilitation and Healthcare Center, LLC
    3.       Manna Rehabilitation and Healthcare Center, LLC
    4.       Omega Health & Rehab of Greenville, LLC
    5.       Patewood Rehabilitation and Healthcare Center, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18          Entered 03/06/18 19:44:15   Page 32 of 49



                                           Schedule 9

    1.       Capstone Rehabilitation and Healthcare Center, LLC
    2.       Fleetwood Rehabilitation and Healthcare Center, LLC
    3.       Iva Rehabilitation and Healthcare Center, LLC
    4.       Johns Island Rehabilitation and Healthcare Center, LLC
    5.       Linley Park Rehabilitation and Healthcare Center, LLC
    6.       McCormick Rehabilitation and Healthcare Center, LLC
    7.       New Redeemer Health & Rehab of Pickens, LLC
    8.       Poinsett Rehabilitation and Healthcare Center, LLC
    9.       River Falls Rehabilitation and Healthcare Center, LLC
    10.      Simpsonville Rehabilitation and Healthcare Center, LLC
    11.      Southern Oaks Rehabilitation and Healthcare Center, LLC
    12.      The Ridge Rehabilitation and Healthcare Center, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18          Entered 03/06/18 19:44:15   Page 33 of 49



                                          Schedule 10

    1.       Brushy Creek Rehabilitation and Healthcare Center, LLC
    2.       Greenville Rehabilitation and Healthcare Center, LLC
    3.       Macon Rehabilitation and Healthcare Center, LLC
    4.       Riverside Rehabilitation and Healthcare Center, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18           Entered 03/06/18 19:44:15    Page 34 of 49



                                           Schedule 11

    1.       4 West Holdings, Inc.
    2.       Aiken RE, LLC
    3.       Ambassador Rehabilitation and Healthcare Center, LLC
    4.       Anchor Rehabilitation and Healthcare Center of Aiken, LLC
    5.       Anderson RE TX, LLC
    6.       Anderson RE, LLC
    7.       Ark II Real Estate, LLC
    8.       Ark III Real Estate, LLC
    9.       Ark Mississippi Holding Company, LLC
    10.      Ark Real Estate, LLC
    11.      Ark South Carolina Holding Company, LLC
    12.      Ark Texas Holding Company, LLC
    13.      Battle Ground RE, LLC
    14.      Brushy Creek Rehabilitation and Healthcare Center, LLC
    15.      Bryan RE, LLC
    16.      Burleson RE, LLC
    17.      Capstone Rehabilitation and Healthcare Center, LLC
    18.      Charlottesville Pointe Rehabilitation and Healthcare Center, LLC
    19.      Charlottesville RE, LLC
    20.      Cleveland RE, LLC
    21.      Clinton RE, LLC
    22.      Cobblestone Rehabilitation and Healthcare Center, LLC
    23.      Collierville RE, LLC
    24.      Columbia RE, LLC
    25.      Columbia Rehabilitation and Healthcare Center, LLC
    26.      Comfort RE, LLC
    27.      Connersville RE, LLC
    28.      Corinth RE, LLC
    29.      Cornerstone Rehabilitation and Healthcare Center, LLC
    30.      Crystal Rehabilitation and Healthcare Center, LLC
    31.      Delta Rehabilitation and Healthcare Center of Cleveland, LLC



EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18           Entered 03/06/18 19:44:15   Page 35 of 49



    32.      Descending Dove, LLC
    33.      Diboll RE, LLC
    34.      Easley RE II, LLC
    35.      Easley RE, LLC
    36.      Edgefield RE, LLC
    37.      Farmville RE, LLC
    38.      Farmville Rehabilitation and Healthcare Center, LLC
    39.      Fleetwood Rehabilitation and Healthcare Center, LLC
    40.      Fortress Health & Rehab of Rock Prairie, LLC
    41.      Granbury RE, LLC
    42.      Great Oaks RE, LLC
    43.      Great Oaks Rehabilitation and Healthcare Center, LLC
    44.      Greenville RE II, LLC
    45.      Greenville RE, LLC
    46.      Greenville Rehabilitation and Healthcare Center, LLC
    47.      Greenwood RE, LLC
    48.      Greer RE, LLC
    49.      Greer Rehabilitation and Healthcare Center, LLC
    50.      Grenada RE, LLC
    51.      Grenada Rehabilitation and Healthcare Center, LLC
    52.      Heritage Park Rehabilitation and Healthcare Center, LLC
    53.      Hillsville RE, LLC
    54.      Hillsville Rehabilitation and Healthcare Center, LLC
    55.      Holly Lane Rehabilitation and Healthcare Center, LLC
    56.      Holly RE, LLC
    57.      Holly Springs RE, LLC
    58.      Holly Springs Rehabilitation and Healthcare Center, LLC
    59.      Indianola RE, LLC
    60.      Indianola Rehabilitation and Healthcare Center, LLC
    61.      Italy RE, LLC
    62.      Iva RE, LLC
    63.      Iva Rehabilitation and Healthcare Center, LLC
    64.      Johns Island Rehabilitation and Healthcare Center, LLC


EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18          Entered 03/06/18 19:44:15   Page 36 of 49



    65.      Joy of Bryan, LLC
    66.      Lampstand Health & Rehab of Bryan, LLC
    67.      Linley Park Rehabilitation and Healthcare Center, LLC
    68.      Macon Rehabilitation and Healthcare Center, LLC
    69.      Magnified Health & Rehab of Anderson, LLC
    70.      Manna Rehabilitation and Healthcare Center, LLC
    71.      Marietta RE, LLC
    72.      McCormick RE, LLC
    73.      McCormick Rehabilitation and Healthcare Center, LLC
    74.      Memphis RE, LLC
    75.      Midland RE, LLC
    76.      Midland Rehabilitation and Healthcare Center, LLC
    77.      Moultrie RE, LLC
    78.      Mountain View Rehabilitation and Healthcare Center, LLC
    79.      Natchez RE, LLC
    80.      Natchez Rehabilitation and Healthcare Center, LLC
    81.      New Ark Master Tenant, LLC
    82.      New Ark Operator Holdings, LLC
    83.      New Redeemer Health & Rehab of Pickens, LLC
    84.      Olive Leaf Holding Company, LLC
    85.      Olive Leaf, LLC
    86.      Omega Health & Rehab of Greenville, LLC
    87.      Orianna Health Systems, LLC
    88.      Orianna Holding Company, LLC
    89.      Orianna Investment, Inc.
    90.      Orianna SC Operator Holdings, Inc.
    91.      Patewood Rehabilitation and Healthcare Center, LLC
    92.      Picayune RE, LLC
    93.      Picayune Rehabilitation and Healthcare Center, LLC
    94.      Pickens RE II, LLC
    95.      Pickens RE, LLC
    96.      Piedmont RE, LLC
    97.      Poinsett Rehabilitation and Healthcare Center, LLC


EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18          Entered 03/06/18 19:44:15   Page 37 of 49



    98.      Poplar Oaks Rehabilitation and Healthcare Center, LLC
    99.      Portland RE, LLC
    100.     Provo RE, LLC
    101.     Rainbow Rehabilitation and Healthcare Center, LLC
    102.     River Falls Rehabilitation and Healthcare Center, LLC
    103.     Riverside Rehabilitation and Healthcare Center, LLC
    104.     Rock Prairie RE, LLC
    105.     Rocky Mount RE, LLC
    106.     Rocky Mount Rehabilitation and Healthcare Center, LLC
    107.     Roy RE, LLC
    108.     Scepter Rehabilitation and Healthcare Center, LLC
    109.     Scepter Senior Living Center, LLC
    110.     Simpsonville RE II, LLC
    111.     Simpsonville RE, LLC
    112.     Simpsonville Rehabilitation and Healthcare Center, LLC
    113.     Snellville RE, LLC
    114.     Southern Oaks Rehabilitation and Healthcare Center, LLC
    115.     The Bluffs Rehabilitation and Healthcare Center, LLC
    116.     The Ridge Rehabilitation and Healthcare Center, LLC
    117.     Trinity Mission Health & Rehab of Connersville, LLC
    118.     Trinity Mission of Burleson, LLC
    119.     Trinity Mission of Comfort, LLC
    120.     Trinity Mission of Diboll, LLC
    121.     Trinity Mission of Granbury, LLC
    122.     Trinity Mission of Italy, LLC
    123.     Trinity Mission of Winnsboro, LLC
    124.     Utah Valley Rehabilitation and Healthcare Center, LLC
    125.     Vicksburg RE, LLC
    126.     Victory Rehabilitation and Healthcare Center, LLC
    127.     Wadesboro RE, LLC
    128.     Wide Horizons RE, LLC
    129.     Wide Horizons Residential Care Facility, LLC
    130.     Winnsboro RE, LLC


EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18         Entered 03/06/18 19:44:15   Page 38 of 49



    131.     Woodlands Rehabilitation and Healthcare Center, LLC
    132.     Yazoo City RE, LLC
    133.     Yazoo City Rehabilitation and Healthcare Center, LLC




EAST\151213880.6
Case 18-30777-hdh11 Doc 1 Filed 03/06/18                          Entered 03/06/18 19:44:15    Page 39 of 49



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

---------------------------------------------------------------    x
In re:                                                             :
                                                                   : Chapter 11
4 WEST HOLDINGS, INC.,                                             :
                                                                   : Case No. 18-_____ (___)
                    Debtor.                                        :
---------------------------------------------------------------    :
                                                                   x
                      CONSOLIDATED LIST OF CREDITORS WHO HAVE THE
                    40 LARGEST UNSECURED CLAIMS AND ARE NOT INSIDERS

         The above-captioned debtor and its debtor affiliates (collectively, the “Debtors”) hereby certify
that the Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
submitted herewith contains the names and addresses of the Debtors’ consolidated top 40 unsecured
creditors (the “Top 40 List”). The list has been prepared from the Debtors’ unaudited books and records
as of the Petition Date. The Top 40 List was prepared in accordance with Rule 1007(d) of the Federal
Rules of Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases. The Top 40 List does not
include: (1) persons who come within the definition of an “insider” set forth in 11 U.S.C. § 101(31); or
(2) secured creditors, unless the value of the collateral is such that the unsecured deficiency places the
creditor among the holders of the 40 largest unsecured claims. The information presented in the Top 40
List shall not constitute an admission by, nor is it binding on, the Debtors. Moreover, nothing herein shall
affect the Debtors’ right to challenge the amount or characterization of any claim at a later date. The
failure of the Debtors to list a claim as contingent, unliquidated or disputed does not constitute a waiver of
the Debtors’ right to contest the validity, priority, and/or amount of any such claim.




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        Case 18-30777-hdh11 Doc 1 Filed 03/06/18                          Entered 03/06/18 19:44:15                            Page 40 of 49

 Fill in this information to identify the case:

  Debtor Name 4 West Holdings, Inc.

  United States Bankruptcy Court for the: Northern District of Texas
                                                  (State)

 Case number (If known):
                                                                                                                                    Check if this is an
                                                                                                                                        amended filing




Official Form 204

Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest
Unsecured Claims and Are Not Insiders                                                 12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                   partially secured          of collateral or setoff
Healthcare Services
                           (864) 306-7785
Group Inc
PO Box 829677                                       PROF SERV                                                 $0.00                                  $17,590,874.23
                           info@hcsgcorp.co
Philadelphia, PA
                           m
19182-9677
Pharmerica
Corporation 1900           (720) 652-4518
South Sunset Street
                                                    PHARMACY                                                  $0.00                                    $5,015,934.94
Unit 1a                    Jae4201@pharmeri
Longmont, CO               ca.com
80501
Omnicare Inc
Dept 781668                (313) 465-1500
PO Box 78000                                        PHARMACY                                                  $0.00                                    $3,853,708.84
Detroit, MI 48278-         results@omnicare.
1668                       com
Medline Industries
Inc                        (847) 643-4062
Dept 1080
                                                    MED SUPPLY                                                $0.00                                    $1,841,862.58
PO Box 121080              finance@medline.c
Dallas, TX 75312-          om
1080
Anthem BCBS                (800) 786-8015
PO Box 951254
                                                    INSURANCE                                                 $0.00                                      $505,790.64
Cleveland, OH              laura.crozier@anth
44193                      em.com
                           (800) 786-8015
Mobilex Usa
PO Box 17462                           MEDICAL                                                                $0.00                                      $494,894.70
                    jeff.barton@mobile
Baltimore, MD 21297
                    xusa.com
DME Tennessee
                    (877) 640-9795
LLC
PO Box 1017                            PROF SERV                                                              $0.00                                      $345,330.00
                    Billers@alanahealt
Dickson, TN 37056-
                    hcare.com
1017




EAST\151102959.4
        Case 18-30777-hdh11 Doc 1 Filed 03/06/18                          Entered 03/06/18 19:44:15                            Page 41 of 49

Name of creditor and      Name, telephone number Nature of claim          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                   partially secured          of collateral or setoff
Specialized Medical
                          (800) 786-3656
Services I
7237 Solution Ctr                                  MED SUPPLY                                                 $0.00                                      $325,327.51
                          oxegynbilling@spe
Chicago, IL 60677-
                          cializedmed.com
7002
Direct Supply
                          (800) 634-7328
Box 88201
                                                   SUPPLIES                                                   $0.00                                      $317,332.89
Milwaukee, WI
                          DFord@directs.co
53288-0201
                          m
Joerns Healthcare
LLC                       (800) 966-6662
19748 Dearborn
                                                   EQUIPMENT                                                  $0.00                                      $293,887.32
Street                    treasury@joerns.c
Chatsworth, CA            om
91311
Reliance Standard
Life Insuran              (267) 256-3500
PO Box 3124                                        INSURANCE                                                  $0.00                                      $254,072.14
Southeastern, PA          customer.service@
19398-3124                rsli.com
Pointclickcare
                          (800) 277-5889
Technologies In
PO Box 674802                                      SOFTWARE                                                   $0.00                                      $224,004.82
                          accountservices@
Detroit, MI 48267-
                          pointclickcare.com
4802
Regional
Ambulance Service
                          (803) 392-7107
Inc
1089 Augusta Road                                  TRANSPORT                                                  $0.00                                      $186,986.96
                          jodi@regionalambu
Suite 300
                          lance.net
Warrenville, SC
29851
American
                          (601) 978-6800
Healthtech Software
PO Box 936171                                      SOFTWARE                                                   $0.00                                      $167,907.89
                          katie.wilson@cpsi.
Atlanta, GA 31193-
                          com
6171
National Datacare
Corporation               (703) 830-3660
PO Box 222430                                      SUPPLIES                                                   $0.00                                      $158,643.31
Chantilly, VA 20153-      support@nationald
2430                      atacare.com
Pointright
                          (781) 457-5960
150 Cambridge Park
Dr Suite 301                                       PROF SERV                                                  $0.00                                      $127,530.00
                          info@pointright.co
Cambridge, MA
                          m
2140
Advance Nursing           (864) 573-9900
Corporation c/o
Magnolia Financial        cbrock@advancen
Inc                       ursing.com               STAFFING                                                   $0.00                                      $111,057.02
PO Box 16807
Atlanta, GA 30321-        dtorres@advancen
0807                      ursing.com
Vital Care                (866) 764-4911
PO Box 51222
                                                   TRANSPORT                                                  $0.00                                      $110,924.90
Piedmont, SC              Jdockery8105.jd@
29673                     gmail.com




EAST\151102959.4
        Case 18-30777-hdh11 Doc 1 Filed 03/06/18                          Entered 03/06/18 19:44:15                            Page 42 of 49

Name of creditor and      Name, telephone number Nature of claim          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                   partially secured          of collateral or setoff
Hancock Daniel
                          (804) 967-9604
Johnson & Nagle
PO Box 72050                                       LEGAL                                                      $0.00                                      $109,652.27
                          info@hancockdani
Richmond, VA
                          el.com
23255-2050
Quintairos Prieto         (305) 670-1101
Wood & Boyer
9200 South                fs@qpwblaw.com
                                                   LEGAL                                                      $0.00                                      $108,428.62
Dadeland Blvd
Suite 100                 servicecopies@qp
Miami, FL 33156           wblaw.com
Accelerated Care          (800) 350-1100
Plus Leasing 13828
Collections Center        acp-             RENTAL                                                             $0.00                                      $104,327.39
Drive Chicago, IL         customersupport@
60693                     hanger.com
HD Supply Facilities
                          (800) 798-8888
Maint Ltd
PO Box 509058                                      REPAIRS                                                    $0.00                                        $95,319.44
                          fmeft@hdsupply.co
San Diego, CA
                          m
92150-9058
Brown & Brown
                          (503) 274-6511
Northwest
                                                   INSURANCE                                                  $0.00                                        $88,492.00
PO Box 29018
                          info@bbnw.com
Portland, OR 97296
United Healthcare
PO Box 30997 Salt          (877) 842-3210          PATIENT REFUND                                             $0.00                                        $86,372.29
Lake City, UT 84130
Shred It Usa Inc          (800) 697-4733
28883 Network
                                                   SHRED                                                      $0.00                                        $84,600.41
Place                     Memphis
Chicago, IL 60673         @shredit.com
Presidio Networked
                          (770) 449-6116
Solutions I
PO Box 822169                                      SOFTWARE                                                   $0.00                                        $82,498.86
                          eorfale@presidio.c
Philadelphia, PA
                          om
19182
Medshore                  (844) 597-4911
Ambulance Service
Inc                       www.priorityambul TRANSPORT                                                         $0.00                                        $80,440.04
PO Box 650458             ance.com/southcar
Dallas, TX 75265          olina/contact-us/
                          (800) 283-2210
Dell Marketing LP
c/o Dell USA LP PO
                    www.dell.com/Sup SOFTWARE                                                                 $0.00                                        $77,047.30
Box 534118 Atlanta,
                    port/SendUsAMess
GA 30353-4118
                    age
Curaspan Health
Group Inc Dept
                    (617) 395-0125
2869
                                       RENTAL                                                                 $0.00                                        $72,850.00
PO Box 122869
                    info@navihealth.us
Dallas, TX 75312-
2869
West IP
Communications      (888) 728-0950
Inc                                    PHONE                                                                  $0.00                                        $67,144.80
Department 1413     westipc.com
Denver, CO 80256




EAST\151102959.4
        Case 18-30777-hdh11 Doc 1 Filed 03/06/18                          Entered 03/06/18 19:44:15                            Page 43 of 49

Name of creditor and      Name, telephone number Nature of claim          Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                               Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                   partially secured          of collateral or setoff
Health Care
Services LLC
9221 SW Barber            (503) 977-0380           STAFFING                                                   $0.00                                        $60,198.31
Blvd #207 Portland,
OR 97219
American Health
Associates
                          (954) 919-5005
15712 SW 41St
Street                                             LAB                                                        $0.00                                        $60,160.36
                          contact@ahalabs.c
Suite 16
                          om
Davie, FL 33331-
1538
Staples Advantage         (888) 753-4103
Dept Dal
                                                   SUPPLIES                                                   $0.00                                        $58,235.69
PO Box 83689              arremittance@stapl
Chicago, IL 60696         es.com
                          (404) 954-5000
Hall Booth Smith PC
                     bbendall@hallboot
191 Peachtree St Ne
                     hsmith.com                    LEGAL                                                      $0.00                                        $57,465.36
Suite 2900 Atlanta,
GA 30303-1775
                     lhall@hallboothsmi
                     th.com
Laser Recharge 485 (901) 853-0742
E South Street Suite
                                                   SUPPLIES                                                   $0.00                                        $57,271.69
101 Collierville, TN orders@laser-
38017                recharge.com
                     (800) 323-5547
Patterson Medical
PO Box 93040
                     victoria.schultz@p            SUPPLIES                                                   $0.00                                        $57,245.20
Chicago, IL 60673-
                     atterson-
3040
                     medical.com
Inpatient
Consultants Of
                     (888) 800-3377
North
                                                   STAFFING                                                   $0.00                                        $53,113.26
PO Box 844929
                     ipchealthcare.com
Los Angeles, CA
90084-4929
                     (800) 610-1863
GA Dept Of
Community Health
                     (404) 651-6141
Benefits Recovery
Section                                            PATIENT REFUND                                             $0.00                                        $48,389.08
                     https://dch.georgia.
PO Box 277941
                     gov/contact-dch
Atlanta, GA 30384-
7941
South Carolina
Healthcare Asso           (803) 772-7511
176 Laurelhurst Ave                                DUES                                                       $0.00                                        $47,458.30
Columbia, SC              schca@schca.org
29210
NRC Health                (800) 601-3884
PO Box 809030
                                                   PROF SERV                                                  $0.00                                        $46,350.00
Chicago, IL 60680-        info@nrchealth.co
9030                      m




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Case 18-30777-hdh11 Doc 1 Filed 03/06/18                                     Entered 03/06/18 19:44:15             Page 44 of 49

Fill in this information to identify the case and this filing:


Debtor Name 4 West Holdings, Inc.

United States Bankruptcy Court for the: Northern District of Texas
                                                  (State)

Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                  Declaration and signature

              I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
              partnership; or another individual serving as a representative of the debtor in this case.

              I have examined the information in the documents checked below and I have a reasonable belief that the information is true
              and correct:

              ✁           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


              ✁           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


              ✁           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


              ✁           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


              ✁           Schedule H: Codebtors (Official Form 206H)


              ✁           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


              ✁           Amended Schedule


              ✂           Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims and
                          Are Not Insiders (Official Form 204)


              ✁          Other document that requires a declaration


I declare under penalty of perjury that the foregoing is true and correct.

Executed on       03/06/2018
                  MM / DD / YYYY                   /s/ Louis E. Robichaux IV
                                                   Signature of individual signing on behalf of debtor

                                                   Louis E. Robichaux IV
                                                   Printed name

                                                   Chief Restructuring Officer
                                                   Position or relationship to debtor




EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18                          Entered 03/06/18 19:44:15    Page 45 of 49



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

---------------------------------------------------------------    x
In re:                                                             :
                                                                   : Chapter 11
4 WEST HOLDINGS, INC.,                                             :
                                                                   : Case No. 18-_____ (___)
                    Debtor.                                        :
---------------------------------------------------------------    :
                                                                   x
                                STATEMENT OF CORPORATE OWNERSHIP

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

undersigned authorized officer of the Debtor certifies that the following corporate entities or individuals

own 10% or more of the Debtor.

                 Debtor’s
                                                         Percentage Ownership Interest
               Shareholder
4 West Investors, LLC
c/o Louis E. Robichaux IV, CRO
15950 Dallas Parkway                                                   100%
Dallas, TX 75248


           4 West Investors, LLC
                                                         Percentage Ownership Interest
               Shareholder
HS New Ark Trust                                                       44%
JS New Ark Trust                                                       22%

DES New Ark Trust                                                      34%




EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18                                                  Entered 03/06/18 19:44:15         Page 46 of 49


Fill in this information to identify the case and this filing:



Debtor Name 4 West Holdings, Inc.

United States Bankruptcy Court for the: Northern District of Texas
                                                  (State)

Case number (If known):



Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ✁              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ✁              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ✁              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ✁              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ✁              Schedule H: Codebtors (Official Form 206H)


                   ✁              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ✁               Amended Schedule


                   ✁              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                   ✂              Other document that requires a declaration Statement of Corporate Ownership

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            03/06/2018                                /s/ Louis E. Robichaux IV
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 Louis E. Robichaux IV
                                                                 Printed name


                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18                          Entered 03/06/18 19:44:15     Page 47 of 49



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

---------------------------------------------------------------    x
In re:                                                             :
                                                                   : Chapter 11
4 WEST HOLDINGS, INC.,                                             :
                                                                   : Case No. 18-_____ (___)
                    Debtor.                                        :
---------------------------------------------------------------    :
                                                                   x
                                   LIST OF EQUITY SECURITY HOLDERS

         Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), the above-captioned debtor hereby

provides the following list of holders of equity interests:


                Name and Address of Interest Holder                              Percentage of Interests Held
4 West Investors, LLC
c/o Louis E. Robichaux IV, CRO
                                                                                            100%
15950 Dallas Parkway
Dallas, TX 75248




EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18                                                  Entered 03/06/18 19:44:15         Page 48 of 49



Fill in this information to identify the case and this filing:



Debtor Name 4 West Holdings, Inc.

United States Bankruptcy Court for the: Northern District of Texas
                                                  (State)

Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ✁              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ✁              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ✁              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ✁              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ✁              Schedule H: Codebtors (Official Form 206H)


                   ✁              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ✁               Amended Schedule


                   ✁              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                   ✂              Other document that requires a declaration List of Equity Security Holders

I declare under penalty of perjury that the foregoing is true and correct.

Executed on            03/06/2018                                /s/ Louis E. Robichaux IV
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 Louis E. Robichaux IV
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




EAST\151102959.4
Case 18-30777-hdh11 Doc 1 Filed 03/06/18                  Entered 03/06/18 19:44:15           Page 49 of 49



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS

IN RE:                                              §
                                                    §
4 WEST HOLDINGS, INC.                               §
                                                    §       Case No.
                           Debtor(s)                §              Chapter 11

                     DECLARATION FOR ELECTRONIC FILING OF
              BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

PART I: DECLARATION OF PETITIONER:

         As an individual debtor in this case, or as the individual authorized to act on behalf of the
corporation, partnership, or limited liability company seeking bankruptcy relief in this case, I hereby
request relief as, or on behalf of, the debtor in accordance with the chapter of title 11, United States Code,
specified in the petition to be filed electronically in this case. I have read the information provided in the
petition and in the lists of creditors to be filed electronically in this case and I hereby declare under
penalty of perjury that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the
Bankruptcy Court within seven (7) business days after the petition and lists of creditors have been filed
electronically. I understand that a failure to file the signed original of this Declaration will result in the
dismissal of my case.

                   [Only include for Chapter 7 individual petitioners whose debts are primarily consumer
                   debts] –I am an individual whose debts are primarily consumer debts and who has chosen
                   to file under chapter 7. I am aware that I may proceed under chapter 7, 11, 12, or 13 of
                   title 11, United States Code, understand the relief available under each chapter, and
                   choose to proceed under chapter 7.

                   [Only include if petitioner is a corporation, partnership or limited liability company] –I
                   hereby further declare under penalty of perjury that I have been authorized to file the
                   petition and lists of creditors on behalf of the debtor in this case.

Date:    March 6, 2018                      /s/ Louis E. Robichaux IV
                                            Debtor                                            Joint Debtor

PART II: DECLARATION OF ATTORNEY:

        I declare under penalty of perjury that: (1) I will give the debtor(s) a copy of all documents
referenced by Part I herein which are filed with the United States Bankruptcy Court; and (2) I have
informed the debtor(s), if an individual with primarily consumer debts, that he or she may proceed under
chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
each such chapter.

Date: March 6, 2018                                                          /s/ Andrew B. Zollinger
                                                                             Attorney for the Debtor




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